Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 1 of 48 Page ID #:6




             EXHIBIT A




                                                                 Exhibit A
                                                                         5
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 2 of 48 Page ID #:7




                                                                 Exhibit A
                                                                         6
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 3 of 48 Page ID #:8




                                                                 Exhibit A
                                                                         7
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 4 of 48 Page ID #:9




                                                                 Exhibit A
                                                                         8
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 5 of 48 Page ID #:10




                                                                  Exhibit A
                                                                          9
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 6 of 48 Page ID #:11




                                                                  Exhibit A
                                                                        10
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 7 of 48 Page ID #:12




                                                                  Exhibit A
                                                                        11
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 8 of 48 Page ID #:13




                                                                  Exhibit A
                                                                        12
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 9 of 48 Page ID #:14




                                                                  Exhibit A
                                                                        13
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 10 of 48 Page ID #:15




                                                                  Exhibit A
                                                                        14
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 11 of 48 Page ID #:16




                                                                  Exhibit A
                                                                        15
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 12 of 48 Page ID #:17




                                                                  Exhibit A
                                                                        16
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 13 of 48 Page ID #:18




                                                                  Exhibit A
                                                                        17
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 14 of 48 Page ID #:19




                                                                  Exhibit A
                                                                        18
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 15 of 48 Page ID #:20




                                                                  Exhibit A
                                                                        19
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 16 of 48 Page ID #:21




                                                                  Exhibit A
                                                                        20
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 17 of 48 Page ID #:22




                                                                  Exhibit A
                                                                        21
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 18 of 48 Page ID #:23




                                                                  Exhibit A
                                                                        22
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 19 of 48 Page ID #:24




                                                                  Exhibit A
                                                                        23
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 20 of 48 Page ID #:25




                                                                  Exhibit A
                                                                        24
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 21 of 48 Page ID #:26




                                                                  Exhibit A
                                                                        25
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 22 of 48 Page ID #:27




                                                                  Exhibit A
                                                                        26
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 23 of 48 Page ID #:28




                                                                  Exhibit A
                                                                        27
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 24 of 48 Page ID #:29




                                                                  Exhibit A
                                                                        28
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 25 of 48 Page ID #:30




                                                                  Exhibit A
                                                                        29
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 26 of 48 Page ID #:31




                                                                  Exhibit A
                                                                        30
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 27 of 48 Page ID #:32




                                                                  Exhibit A
                                                                        31
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 28 of 48 Page ID #:33




                                                                  Exhibit A
                                                                        32
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 29 of 48 Page ID #:34




                                                                  Exhibit A
                                                                        33
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 30 of 48 Page ID #:35




                                                                  Exhibit A
                                                                        34
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 31 of 48 Page ID #:36




                                                                  Exhibit A
                                                                        35
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 32 of 48 Page ID #:37




                                                                  Exhibit A
                                                                        36
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 33 of 48 Page ID #:38




                                                                  Exhibit A
                                                                        37
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 34 of 48 Page ID #:39




                                                                  Exhibit A
                                                                        38
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 35 of 48 Page ID #:40




                                                                  Exhibit A
                                                                        39
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 36 of 48 Page ID #:41




                                                                  Exhibit A
                                                                        40
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 37 of 48 Page ID #:42




                                                                  Exhibit A
                                                                        41
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 38 of 48 Page ID #:43




                                                                  Exhibit A
                                                                        42
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 39 of 48 Page ID #:44




                                                                  Exhibit A
                                                                        43
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 40 of 48 Page ID #:45




                                                                  Exhibit A
                                                                        44
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 41 of 48 Page ID #:46




                                                                  Exhibit A
                                                                        45
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 42 of 48 Page ID #:47




                                                                  Exhibit A
                                                                        46
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 43 of 48 Page ID #:48




                                                                  Exhibit A
                                                                        47
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 44 of 48 Page ID #:49




                                                                  Exhibit A
                                                                        48
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 45 of 48 Page ID #:50




                                                                  Exhibit A
                                                                        49
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 46 of 48 Page ID #:51




                                                                  Exhibit A
                                                                        50
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 47 of 48 Page ID #:52




                                                                  Exhibit A
                                                                        51
Case 8:18-cv-00651 Document 1-1 Filed 04/20/18 Page 48 of 48 Page ID #:53




                                                                  Exhibit A
                                                                        52
